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&lt;div&gt;23CA2203 Karl v Dept of Safety 10-10-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 23CA2203 &lt;/div&gt;
&lt;div&gt;City and County of Denver District Court No. 23CV30672 &lt;/div&gt;
&lt;div&gt;Honorable Martin F. Egelhoff, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Charles Karl, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiff-Appellant, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Department of Safety, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellee. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;ORDERS AFFIRMED &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division VII &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE SCHUTZ &lt;/div&gt;
&lt;div&gt;T&lt;span&gt;ow&lt;/span&gt;&lt;span&gt; and Pawar, JJ., concur &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Empower P.C., &lt;span&gt;Christopher M.A. Lujan, Aurora, Colorado, for Plaintiff-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Appellant &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Kerry C. Tipper, City Attorney, &lt;span&gt;Charles T. Mitchell, Assistant City Attorney, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Margaret C. Tharp, Assistant City Attorney, Denver, Colorado, for Defendant-&lt;/div&gt;
&lt;div&gt;Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiff, Charles Karl, &lt;span&gt;appeals the district courtâs order&lt;/span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;denying his motion to certify the record and affirming the decision &lt;/div&gt;
&lt;div&gt;and final order entered by defendant, the Civil Service Commissi&lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;of the City and County of Denver (Commission).  We affirm. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;Karl was a captain with the Denver Fire Department.  In &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;September 2021, the Department of Safety demoted him from the &lt;/div&gt;
&lt;div&gt;rank of captain to the rank of firefighter based on two personnel &lt;/div&gt;
&lt;div&gt;incidents that occurred in the spring of 2021.  Karl appealed the &lt;/div&gt;
&lt;div&gt;demotion.  An administrate law judge held an evidentiary hearing &lt;span&gt;&lt;/span&gt;in &lt;/div&gt;
&lt;div&gt;December 2021.  The hearing officer issued a decision upholding &lt;/div&gt;
&lt;div&gt;the demotion in January 2022.  &lt;span&gt;Karl appealed the hearing officerâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decision to the Commission on January 18, 2022. &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;After more than 200 days passed without a decision, Karl filed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a &lt;span&gt;petition in Denver District Court Case No. 23CV30675, seeking &lt;span&gt;&lt;/span&gt;an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;order compelling the Commission to issue a decision&lt;span&gt;.  &lt;/span&gt;Eleven days &lt;/div&gt;
&lt;div&gt;later, which was 238 days after the briefing period had ended, &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;Commission issued its final decision and order affirming t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;hearing officerâs decision&lt;span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;Karl then filed the present case in the district court under &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;C.R.C.P. 106(a)(4) seeking judicial review and reversal of &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;Commissionâs decision.  He argued that the &lt;span&gt;Commission abused it&lt;span&gt;&lt;/span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discretion in two ways: (1) by misapplying the applicable provi&lt;span&gt;&lt;/span&gt;sions &lt;/div&gt;
&lt;div&gt;of the Denver Fire Department Discipline Handbook; and (2) by &lt;/div&gt;
&lt;div&gt;failing to issue a decision &lt;span&gt;by&lt;/span&gt; the deadline specified in Denver Civil &lt;/div&gt;
&lt;div&gt;Service Commission Rule 12, section 11(K)(3), which states the &lt;/div&gt;
&lt;div&gt;Commission has eighty-four days to issue a decision. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;Rule 106(a)(4)(III) &lt;span&gt;provides that â[i]&lt;/span&gt;f the complaint is &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;accompanied by a motion and proposed order requiring &lt;span&gt;&lt;/span&gt;certification &lt;/div&gt;
&lt;div&gt;of a record, the court shall order the defendant body &lt;span&gt;&lt;/span&gt;or officer to file &lt;/div&gt;
&lt;div&gt;with the clerk on a specified date, the record or such portion &lt;span&gt;&lt;/span&gt;or &lt;/div&gt;
&lt;div&gt;transcript thereof as is identified in the order&lt;span&gt;.â  Karl did not file &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;such a motion with the complaint, or his subsequently f&lt;span&gt;&lt;/span&gt;iled &lt;/div&gt;
&lt;div&gt;amended complaint&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Rule 106(a)(4)(VII) continues: âIf no record is &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;requested by the plaintiff, the plaintiff shall file an opening brief &lt;/div&gt;
&lt;div&gt;within 42 days after the defendant has served its answer up&lt;span&gt;&lt;/span&gt;on the &lt;/div&gt;
&lt;div&gt;plaintiff.â  Thus, Karlâs opening brief was due within &lt;span&gt;forty-two days &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;after the Commission served its answer to the amended complaint&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;See &lt;span&gt;C.R.C.P. 106(a)(4)(VII). &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP6RCE4BOF&amp;amp;Expires=1728738236&amp;amp;Signature=frELrm3cCc8%2B1QRmMWnvRepr7Bk%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEEwaCXVzLWVhc3QtMSJGMEQCIB9M2sHdPbpjA9h0orgvMXr%2BYeC04tvfESKZb1M9vBiHAiBi5wDvcXgmBRKNUIm6c6kXqwSZ3vdXmE06G1fqEDUEgSq6BQil%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIM4jpJKCchK%2BG4c%2BfmKo4F2djuEgTiXglIr08YBazFQyFujDGpWgpy702nHpKVpq4LJFeXts3P7VJh2MvvsIZBtzQ1P%2FUrKQ5fxn%2Bkmfo1Q3elL145EFvMrhIMF5Z5grtKE5oIV%2FIW9xe3gbvE1X5TVCAz30xpba1DUuztSIgHdQpzVM9ueB1AvzjO4fxuZ0XyNhS%2FyLSaOzX67qttpWt0OxPpAB30i8MU0rPg1x5sV03nnYJNf2NwzsX8JEgrtroWwOa4tyaahQGb5fcQtZHL7uhBaRmZ7IM4L%2B46FBXfrCwDS%2BDNw87ltG2L3xVl0DTrvKKBrBCesuBYmyqegiXEU6M10214OgYvCFq3glA7go%2BTxWmodhiYDRJm3tZ7esKMKzVLbC1e%2B3x6bsdAUd2%2Bix17NTUaeCla0ME35wIYqrYJ0DnisTEBd963jhys1Ra6rgpR4tiagUvwDyeLs7iA53BoBu%2BNTustqWVto5fLj4Ega6U2gD%2Bn65QvscFJZpWOH5pCEE%2F9%2BWRNN5x%2FX%2Fi2RMx%2Bh6SbQ5WRJesoGzOkTb90cs5quwqBrXsJd1tfCAx9ESGWW%2FyMYdNYMZJ6gTTFAjs69qYc%2BsFHXLU7uNg3ynj23Cq8BeaefQXDGbgrxb4z9lT6moYTygHZcuYnBTmvL83Y%2B8IdgATDO2sP4hZgcsE6SQY6rG%2Bk5%2Fgx0jCoqZPCfBxa1rbONL5b1gxr7Kl8qYxzb1IEYUGGgSkU4xEDTfmbP5iC%2FWZ50ENKTBPwyA%2F9Ree9MsKqqH8HF3VHfklpxc2GN%2BRXd3FDDprAhxN1jlRCMC9oy%2FuNx9J0P7Wc%2Fh4ykYEMZb8z3GCd254DdV19SKw%2Ft400Qc0ISRt4kNlillf8eov42aEo5Fqv8S4sMLy6qbgGOrIBa4HDB6EWRW4fe105BYg6aQH3%2FVEsMyiep%2BZmx%2BvlsEGwXvoWtko6pz0aA5NdgYQacG6G4G1CbwZ1PQ%2FkYkrlrxlK%2BmI3t7OaF4x3AxX%2BGwZqZLALrZA37TLOKI7Xah%2BwkTafYnEH0pAvkZWQdcc3%2BTsNv12jU%2FbTSUH5nPMjDKyF12OVG7CRl7SJboPAtRXGolmDuBSTtGBUstWV2LVmpM3PTmN0w5kMnz5pMIJMRjf3Kw%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;span&gt;Nearly a month after Karlâs deadline for filing his openin&lt;span&gt;&lt;/span&gt;g brief, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the district courtâs judicial assistant emailed Karlâs counsel to &lt;/div&gt;
&lt;div&gt;inquire about the status of the case.  Karlâs counsel responded t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;this matter is ready for a briefing schedule to be issued,&lt;span&gt;â and&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;[t]here is no motion for certification of the record pending &lt;span&gt;&lt;/span&gt;in this &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;case.&lt;span&gt;â  The same day, the district court entered an order sett&lt;span&gt;&lt;/span&gt;ing &lt;span&gt;a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;briefing schedule for the Rule 106 claims. &lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;A month later, and approximately a week before the opening &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;brief was due, Karl filed a motion to certify the record.  In his reply &lt;/div&gt;
&lt;div&gt;to the Commissionâs response to his motion to certify t&lt;span&gt;&lt;/span&gt;he record&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Karlâs attorney &lt;span&gt;stated that he did not file the motion earlier becau&lt;span&gt;&lt;/span&gt;se &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;he was trying to save his client the expense of certifying t&lt;span&gt;&lt;/span&gt;he record &lt;/div&gt;
&lt;div&gt;and that he had an expectation the &lt;span&gt;Commissionâs &lt;/span&gt;counsel would file &lt;/div&gt;
&lt;div&gt;the certification.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  The district court denied his motion, concluding &lt;/div&gt;
&lt;div&gt;that &lt;span&gt;it&lt;/span&gt; was untimely and that Karl had made no showing &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;excusable neglect to justify the late filing. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; On appeal, the &lt;span&gt;Commissionâs &lt;/span&gt;counsel &lt;span&gt;denies that Karlâs attorney &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;ever asked or confirmed whether the Commission would file the &lt;/div&gt;
&lt;div&gt;certified record. &lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;After the briefing process, the district court entered an orde&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;concluding that the Commission did not lose its jurisdiction, excee&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;its authority, or abuse its discretion by issuing its final decision and &lt;/div&gt;
&lt;div&gt;order more than eighty-four days after the briefing before the &lt;/div&gt;
&lt;div&gt;Commission was completed.  Karl appeals this order and the &lt;/div&gt;
&lt;div&gt;district courtâs order denying his motion to &lt;span&gt;certify the record. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Timeliness of the &lt;span&gt;Commissionâs Order&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;Under Rule 106(a)(4), we review a&lt;span&gt;n agencyâs &lt;/span&gt;quasi-judicial &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decisions to determine if it &lt;span&gt;has âexceeded its jurisdiction or ab&lt;span&gt;&lt;/span&gt;used &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;its discretion.â  &lt;span&gt;The agency decision that Karl challenges is the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;issuance of &lt;span&gt;the Commissionâs&lt;/span&gt; final decision and order long after the &lt;/div&gt;
&lt;div&gt;expiration of the deadline established by Rule 12, section 11(K)(&lt;span&gt;&lt;/span&gt;3).  &lt;/div&gt;
&lt;div&gt;The Commissionâs interpretation and &lt;span&gt;application of that Rule &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;presents an issue of law that we review de novo.&lt;span&gt;  See Colo. Dep&lt;span&gt;â&lt;/span&gt;t&lt;span&gt;&lt;/span&gt; of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Lab. &lt;span&gt;&amp;amp; &lt;/span&gt;Emp. v. Esser&lt;span&gt;, 30 P.3d 189, 194 (Colo. 2001) &lt;span&gt;(â[C]&lt;/span&gt;onclusions &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of law, including interpretations of the constitutions and stat&lt;span&gt;&lt;/span&gt;utes, &lt;/div&gt;
&lt;div&gt;are always subject to de novo review&lt;span&gt;.â&lt;/span&gt;&lt;span&gt;)&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;span&gt;Safeway, Inc. v. Indus. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Claim Appeals Off.&lt;span&gt;, 186 P.3d 103, 105 (Colo. App. 2008) (â&lt;span&gt;I&lt;span&gt;n &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;construing an administrative rule or regulation, we ap&lt;span&gt;&lt;/span&gt;ply the same &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;rules of construction as we would in interpreting a statute.&lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;(quoting &lt;span&gt;Lucero v. Depât of &lt;span&gt;Insts.&lt;/span&gt;&lt;/span&gt;, 942 P.2d 1246, 1249 (Colo. &lt;span&gt;&lt;/span&gt;App. &lt;/div&gt;
&lt;div&gt;1996))).  An agency abuses its discretion when it misapplies the &lt;/div&gt;
&lt;div&gt;law.  &lt;span&gt;Gallegos v. Garcia&lt;/span&gt;, 155 P.3d 405, 406 (Colo. App. &lt;span&gt;&lt;/span&gt;2006). &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;The Partiesâ Arguments&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;As best we understand his argument on appeal, Karl asserts &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that under Rule 12, section 11(K)(3), the Commission either &lt;/div&gt;
&lt;div&gt;exceeded its authority or abused its discretion by issuing its final &lt;/div&gt;
&lt;div&gt;decision and order more than eighty-four days after the briefing was &lt;/div&gt;
&lt;div&gt;complete&lt;span&gt;.  &lt;span&gt;In its answer brief, the Commission frames K&lt;span&gt;arlâs &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argument as a contention that the Commission lost its jurisdiction &lt;/div&gt;
&lt;div&gt;to act.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;Both in the district court and on appeal, the Commission cites &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Shaball v. State Compensation Insurance Authorit&lt;span&gt;&lt;/span&gt;y&lt;span&gt;, 799 P.2d 399 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Colo. App. 1990), as the analytical framework for its jurisdictional &lt;/div&gt;
&lt;div&gt;analysis.  In rejecting &lt;span&gt;Karlâs &lt;/span&gt;challenge to the timeliness of the &lt;/div&gt;
&lt;div&gt;Commissionâs decision, t&lt;span&gt;he district court also viewed the Rule 12&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section &lt;span&gt;11&lt;/span&gt;(K)(3), timing issue as a question of jurisdict&lt;span&gt;&lt;/span&gt;ion and &lt;/div&gt;
&lt;div&gt;analyzed it through the &lt;span&gt;Shaball&lt;/span&gt; framework. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;In his reply brief on appeal&lt;span&gt;, &lt;/span&gt;however, Karl expressly denies &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that he is making a jurisdictional argument&lt;span&gt;.  &lt;/span&gt;Rather, he reiterates &lt;/div&gt;
&lt;div&gt;that he is arguing that the Commission exceeded its authority and &lt;/div&gt;
&lt;div&gt;abused its discretion by deciding the appeal after the eighty-four-&lt;/div&gt;
&lt;div&gt;day deadline. &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;As a remedy for the asserted violation of the deadline, Karl &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;requested that the district court reverse the Commission&lt;span&gt;âs&lt;/span&gt; decision.  &lt;/div&gt;
&lt;div&gt;While less than clear, it seems he was also asking the court t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;reverse or vacate the hearing officerâs decision and reinstate him &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;his former rank of captain.  This argument &lt;span&gt;is&lt;/span&gt; premised on the &lt;/div&gt;
&lt;div&gt;contention that the factual record and disciplinary matri&lt;span&gt;&lt;/span&gt;x did not &lt;/div&gt;
&lt;div&gt;support his demotion. &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;The Commissionâs Jurisdiction&lt;span&gt; and Authority to Act &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;Rule 12 addresses disqualification and disciplinary appeals, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;hearings, and procedures.  Section 11(K)(1) and (K)(3) of Rule 12 &lt;/div&gt;
&lt;div&gt;provides as follows:  &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; The Commissioners shall issue a written &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Decision and Final Order, that shall be binding &lt;/div&gt;
&lt;div&gt;upon all parties, affirming, reversing, or &lt;/div&gt;
&lt;div&gt;modifying the Hearing Officer&lt;span&gt;â&lt;/span&gt;s Decision and &lt;/div&gt;
&lt;div&gt;Order with respect to any charged violation &lt;/div&gt;
&lt;div&gt;and any imposed penalty that is a subject of &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;the appeal.  The Commissionersâ decision shall &lt;/div&gt;
&lt;div&gt;be final and is subject to judicial review . . . . &lt;/div&gt;
&lt;div&gt;. . . . &lt;/div&gt;
&lt;div&gt;3. The Commissioners shall issue their &lt;/div&gt;
&lt;div&gt;decision no later than eighty-four (84) days &lt;/div&gt;
&lt;div&gt;after the close of Oral Argument or, if no Oral &lt;/div&gt;
&lt;div&gt;Argument is held, after the close of the briefing &lt;/div&gt;
&lt;div&gt;period. &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;Despite the terms of Rule 12, section 11(K)(3), the Commissi&lt;span&gt;&lt;/span&gt;on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;did not issue its decision and final order within eight&lt;span&gt;&lt;/span&gt;y-four days &lt;/div&gt;
&lt;div&gt;after the close of the briefing period. &lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;span&gt;Although we acknowledge Karlâs disclaimer, we elect&lt;span&gt;&lt;/span&gt; to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;address the jurisdictional question for three reasons.  &lt;span&gt;&lt;/span&gt;First, an &lt;/div&gt;
&lt;div&gt;agency decision is void if it is entered without jurisdiction. &lt;span&gt;&lt;/span&gt; &lt;span&gt;Emmons &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. Colo. Dep&lt;span&gt;â&lt;/span&gt;t of Revenue&lt;span&gt;, 2020 COA 17, Â¶ 32 &lt;span&gt;(â&lt;/span&gt;If we find that t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Department acted without jurisdiction, we must reverse t&lt;span&gt;&lt;/span&gt;he district &lt;/div&gt;
&lt;div&gt;court judgment . . . .&lt;span&gt;â&lt;/span&gt;&lt;span&gt;).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Second, an appellate court must be &lt;/div&gt;
&lt;div&gt;satisfied that the reviewing agency had jurisdiction &lt;span&gt;to&lt;/span&gt; resolve the &lt;/div&gt;
&lt;div&gt;disputed issue.  &lt;span&gt;Id&lt;span&gt;.&lt;/span&gt;&lt;/span&gt;  And third, the district court expressly resolved &lt;/div&gt;
&lt;div&gt;the jurisdictional question after applying &lt;span&gt;Shaball&lt;/span&gt;, which we agre&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;provides the most relevant authority for determining if &lt;span&gt;&lt;/span&gt;an agency &lt;/div&gt;
&lt;div&gt;loses the ability to act because a decision was not timely issue&lt;span&gt;&lt;/span&gt;d. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;span&gt;Shaball&lt;span&gt;, &lt;span&gt;like the present case, involved the appeal of a &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;disciplinary action.  &lt;span&gt;See&lt;/span&gt; 799 P.2d at 402.  There, the plaintiff &lt;/div&gt;
&lt;div&gt;argued that the administrative agency âlost jurisdiction &lt;span&gt;&lt;/span&gt;when the &lt;/div&gt;
&lt;div&gt;hearing officer failed to issue a decisionâ within the timefra&lt;span&gt;&lt;/span&gt;me &lt;/div&gt;
&lt;div&gt;specified by the applicable statute.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;In rejecting the plaintiffâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;jurisdictional argument, &lt;span&gt;the division held that â[s]&lt;/span&gt;tatutory &lt;/div&gt;
&lt;div&gt;provisions governing the time for actions to be taken by public &lt;/div&gt;
&lt;div&gt;officials and agencies are not jurisdictional unless a contrary intent &lt;/div&gt;
&lt;div&gt;is clearly expressed&lt;span&gt;.â  &lt;span&gt;Id.&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;The division explained, &lt;/div&gt;
&lt;div&gt;The crucial difference between statutes &lt;/div&gt;
&lt;div&gt;considered to be directory and those deemed &lt;/div&gt;
&lt;div&gt;mandatory arises from the consequence of &lt;/div&gt;
&lt;div&gt;noncompliance.  Failure to follow the former &lt;/div&gt;
&lt;div&gt;does not terminate the authority of the &lt;/div&gt;
&lt;div&gt;administrative or judicial body to decide the &lt;/div&gt;
&lt;div&gt;issue, whereas the failure to follow the latter &lt;/div&gt;
&lt;div&gt;may terminate its power or jurisdiction. &lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;span&gt;Id.   &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;span&gt;Shaball&lt;span&gt; sets forth three factors for assessing whether a time &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;limit governing the issuance of an agency decision is directory &lt;/div&gt;
&lt;div&gt;rather than mandatory.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;The first is whether the rule indicates &lt;/div&gt;
&lt;div&gt;that &lt;span&gt;âtime is of the essenceâ&lt;/span&gt; to issue a decision.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Aside from &lt;/div&gt;
&lt;div&gt;articulating the timeframe, Rule 12, section 11(K)(3), contains no &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;indication that time is of the essence in meeting the eighty-four-day &lt;/div&gt;
&lt;div&gt;deadline. &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;The second &lt;span&gt;Shaball&lt;/span&gt; factor is whether the governing statute &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âcontains negative language denying the exercise of authority &lt;/div&gt;
&lt;div&gt;beyond the time period prescribed for action.â  &lt;span&gt;799 P.2d at 402&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Section 11(K)(3) of Rule 12 contains no language indicating that an &lt;/div&gt;
&lt;div&gt;agency loses jurisdiction or its authority to act &lt;span&gt;if&lt;/span&gt; its decision is not &lt;/div&gt;
&lt;div&gt;issued within eighty-four days. &lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;The third &lt;span&gt;Shaball&lt;/span&gt; factor requires us to consider whether &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âdisregarding the relevant provision would injuriously aff&lt;span&gt;&lt;/span&gt;ect public &lt;/div&gt;
&lt;div&gt;interests or private rights.â  &lt;span&gt;799 P.2d at 402.  Certainly, Karl had a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;personal interest in receiving a timely decision from the &lt;/div&gt;
&lt;div&gt;Commission.  And we appreciate his frustration with the &lt;/div&gt;
&lt;div&gt;Commissionâs significant delay in issuing the decision in t&lt;span&gt;&lt;/span&gt;his case.  &lt;/div&gt;
&lt;div&gt;The Commission&lt;span&gt;âs&lt;/span&gt; decisions materially impact important aspects of &lt;/div&gt;
&lt;div&gt;employeesâ daily lives&lt;span&gt;: &lt;/span&gt;&lt;span&gt;Karlâs&lt;/span&gt;&lt;span&gt; employment status, salary, and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;retirement benefits remained in limbo while the Commission &lt;/div&gt;
&lt;div&gt;considered its decision.  However, we find no indication that&lt;span&gt;&lt;/span&gt; Karl &lt;/div&gt;
&lt;div&gt;suffered &lt;span&gt;a specific injury from the Commissionâs delay t&lt;span&gt;&lt;/span&gt;hat could &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not have been remedied if the Commission had found in his f&lt;span&gt;&lt;/span&gt;avor.  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;His title and retirement benefits could have been reinstated, and &lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;could have received backpay. &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;On a less tangible level, the uncertainty created by the delay&lt;span&gt;&lt;/span&gt;ed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decision likely impacted &lt;span&gt;Karlâs &lt;/span&gt;work environment and his mental &lt;/div&gt;
&lt;div&gt;state.  But these tensions are inherent in the litigation of all &lt;/div&gt;
&lt;div&gt;employment actions, and Karl has identified no concrete personal &lt;/div&gt;
&lt;div&gt;loss that he suffered because of the delay. &lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finding none of the three &lt;span&gt;Shaball&lt;/span&gt; factors satisfied in this c&lt;span&gt;as&lt;span&gt;e,&lt;/span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;we conclude that the Commission&lt;span&gt;â&lt;/span&gt;s delay in issuing its decision di&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;not result in the loss of its jurisdiction or authority to act. &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Abuse of Discretion &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;Perhaps in view of &lt;span&gt;Shaball&lt;/span&gt;&lt;span&gt;, Karlâs focus &lt;/span&gt;&lt;span&gt;in&lt;/span&gt; the district court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and on appeal is his argument that the Commission abused it&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;discretion by issuing its decision long after the eighty-four-day &lt;/div&gt;
&lt;div&gt;deadline.  An agency abuses its discretion when it misconstrues or &lt;/div&gt;
&lt;div&gt;misapplies the law or when it makes a decision that is &lt;span&gt;un&lt;/span&gt;support&lt;span&gt;&lt;/span&gt;ed &lt;/div&gt;
&lt;div&gt;by competent evidence in the record such that the decision can only&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;be explained as an arbitrary or capricious exercise of authority&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Freedom Colo. Info., Inc. v. El Paso Cnty. &lt;span&gt;Sheriffâs Depât.&lt;span&gt;, 196 &lt;span&gt;&lt;/span&gt;P.3d &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;892, 899-&lt;span&gt;900&lt;/span&gt; (Colo. App. 2008) (citing &lt;span&gt;Ross v. Fire &amp;amp; Police Pension &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Assân&lt;span&gt;, 713 P.2d 1304, 1308-09 (Colo. 1986)). &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;In rejecting this argument, the district court relied on a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decision from a division of this court in &lt;span&gt;Mayerle v. Civil Service &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Commission&lt;span&gt;, 738 P.2d 1198 (Colo. App. 1987).  In &lt;/span&gt;Mayerle&lt;span&gt;, the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;division rejected the plaintiffâs contention that the Commissi&lt;span&gt;&lt;/span&gt;onâs &lt;/div&gt;
&lt;div&gt;five-month delay in issuing its opinion was arbitrary and &lt;/div&gt;
&lt;div&gt;capricious.  &lt;span&gt;Id.&lt;/span&gt; at 1200 (&lt;span&gt;â&lt;/span&gt;&lt;span&gt;P&lt;/span&gt;&lt;span&gt;etitionerâs argument that the &lt;span&gt;&lt;/span&gt;Commission &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;acted arbitrarily and capriciously in rendering its decision f&lt;span&gt;&lt;/span&gt;ive &lt;/div&gt;
&lt;div&gt;months after the hearing is without merit.&lt;span&gt;â &lt;/span&gt;(citing &lt;span&gt;Clevela&lt;span&gt;&lt;/span&gt;nd Bd. of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Educ. v. Loudermill&lt;span&gt;,&lt;/span&gt; &lt;span&gt;470 U.S. 532 (1985))); &lt;/span&gt;&lt;span&gt;Loudermill&lt;/span&gt;&lt;span&gt;, 470 U.S. at &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;547 (concluding that a ni&lt;span&gt;ne&lt;/span&gt;-month delay in issuing a decision was &lt;/div&gt;
&lt;div&gt;neither unreasonable n&lt;span&gt;or &lt;/span&gt;unconstitutionally lengthy&lt;span&gt;&lt;/span&gt; per se).  In &lt;/div&gt;
&lt;div&gt;Karlâs case, &lt;span&gt;the &lt;span&gt;seven&lt;/span&gt;-month delay falls squarely between &lt;span&gt;&lt;/span&gt;the five-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;month delay in &lt;span&gt;Mayerle&lt;/span&gt; and the nine-month delay in the case &lt;/div&gt;
&lt;div&gt;Mayerle&lt;span&gt; cites, &lt;/span&gt;Loudermill&lt;span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;Karl &lt;span&gt;re&lt;/span&gt;lies heavily on &lt;span&gt;Rags Over the Arkansas River, Inc. v. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Colorado Parks &amp;amp; Wildlife Board&lt;span&gt;, 2015 COA 11M, to support his &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argument that the Commission exceeded its authority by &lt;span&gt;&lt;/span&gt;not &lt;/div&gt;
&lt;div&gt;adhering to the eighty-four-day deadline.  In &lt;span&gt;Rags&lt;/span&gt;, the Colorado &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;Parks and Outdoor Recreation Board delayed issuing a permit that &lt;/div&gt;
&lt;div&gt;would have allowed the plaintiff to create an outdoor artistic f&lt;span&gt;&lt;/span&gt;eature &lt;/div&gt;
&lt;div&gt;over the Arkansas River.  &lt;span&gt;Id. &lt;/span&gt;at Â¶ 5&lt;span&gt;.  &lt;/span&gt;Thus, &lt;span&gt;Rags&lt;/span&gt; involved an &lt;/div&gt;
&lt;div&gt;agencyâs failure to &lt;span&gt;follows its own rules governing the issuance of &lt;span&gt;&lt;/span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;special activities permit&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;span&gt;Id. &lt;/span&gt;at Â¶ &lt;span&gt;66&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt;The division concluded that &lt;/div&gt;
&lt;div&gt;the agency&lt;span&gt;âs&lt;/span&gt; failure to follow its own regulations in the &lt;span&gt;&lt;/span&gt;permitting &lt;/div&gt;
&lt;div&gt;process was error, but that any error was harmless.  &lt;span&gt;Id.&lt;/span&gt; at Â¶ &lt;span&gt;64&lt;/span&gt;.&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;span&gt;Karlâs contention is that the Commissionâs &lt;span&gt;failure to issue a &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;timely decision was an abuse of discretion&lt;span&gt;.  &lt;/span&gt;This is so, h&lt;span&gt;e &lt;/span&gt;&lt;span&gt;argues&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;because the language of Rule 12, section 11(K)(3), is mandatory &lt;/div&gt;
&lt;div&gt;rather than directive.  But &lt;span&gt;Rags&lt;/span&gt; does not provide an analytic &lt;/div&gt;
&lt;div&gt;framework for deciding when a deadline to issue a decision is &lt;/div&gt;
&lt;div&gt;mandatory rather than directi&lt;span&gt;ve&lt;/span&gt;.  That framework is provided by &lt;/div&gt;
&lt;div&gt;Shaball&lt;span&gt;.  &lt;span&gt;799 P.2d at 402.  And &lt;/span&gt;&lt;span&gt;for&lt;/span&gt;&lt;span&gt; the reasons previously &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;articulated, the application of &lt;span&gt;Shaball&lt;/span&gt;&lt;span&gt;âs three factors leads to &lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;conclusion that &lt;span&gt;Rule 12âs&lt;/span&gt; eighty-four-day deadline is directive &lt;/div&gt;
&lt;div&gt;rather than mandatory. &lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;/span&gt;&lt;span&gt;Karl relies on various nonbinding decisions from other &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;jurisdictions &lt;span&gt;to argue that the word âshallâ in Rule 12, section &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;11(K)(3), imposes a mandatory deadline.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See, e.g.&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;&lt;span&gt;Moha&lt;span&gt;sco &lt;span&gt;Corp. &lt;/span&gt;v. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;Silver&lt;span&gt;, 447 U.S. 807, 825-26 (1980) (concluding that deadline f&lt;span&gt;&lt;/span&gt;or &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;filing unfair employment practices claim is mandatory)&lt;span&gt;; &lt;/span&gt;&lt;span&gt;In re Comp. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of Pena&lt;span&gt;, 432 P.3d 382, 386 (Or. Ct. App. 2018) (concluding that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Workerâs Compensation Division misapplied its own rules&lt;span&gt; and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reversing decision that failed to follow the rule&lt;span&gt;).&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;/span&gt;&lt;span&gt;But these decisions are based on statutes or rules not at issue &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;here.  Moreover, Karl cites no analytic framework that displaces t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;Shaball&lt;span&gt; factors in assessing whether an agency rule that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;establishes a deadline for the issuance of a decision is mandat&lt;span&gt;&lt;/span&gt;ory or &lt;/div&gt;
&lt;div&gt;directive.  Similarly, he provides no framework by which we are to &lt;/div&gt;
&lt;div&gt;determine when a delay in the issuance of a decision rises to the &lt;/div&gt;
&lt;div&gt;level of arbitrary or capricious conduct. &lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;In the absence of such authority, we conclude that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Commission did not act arbitrarily or capriciously by issuing &lt;span&gt;&lt;/span&gt;its &lt;/div&gt;
&lt;div&gt;decision after the eighty-four-day deadline. &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;/span&gt;&lt;span&gt;But even if we assume there was error, such error would &lt;span&gt;&lt;/span&gt;not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;justify either remedy that Karl requests.  Karl effectively prop&lt;span&gt;&lt;/span&gt;oses &lt;/div&gt;
&lt;div&gt;two remedies.  First, he suggests that we should vacate the &lt;/div&gt;
&lt;div&gt;Commissionâs decision because of its untimeliness and vacate t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;he&lt;span&gt;aring officerâs decision, reinstating his original position&lt;span&gt; &lt;span&gt;as &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;captain.  Alternatively, he argues that we should reverse t&lt;span&gt;&lt;/span&gt;he district &lt;/div&gt;
&lt;div&gt;courtâs order denying his motion to certify the record and &lt;span&gt;&lt;/span&gt;remand &lt;/div&gt;
&lt;div&gt;this matter with instructions that the district court review the &lt;/div&gt;
&lt;div&gt;record and reconsider the merits of the Commissionâs de&lt;span&gt;&lt;/span&gt;cision.  The &lt;/div&gt;
&lt;div&gt;first remedy is well outside our authority.  The second would &lt;span&gt;&lt;/span&gt;only &lt;/div&gt;
&lt;div&gt;be possible if we found the district court had erred in denyin&lt;span&gt;&lt;/span&gt;g Karlâs &lt;/div&gt;
&lt;div&gt;motion to certify the record.  But as explained below, we conclude &lt;/div&gt;
&lt;div&gt;that the district court did not err by denying the motion to certify &lt;/div&gt;
&lt;div&gt;the record. &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Denial of the Motion to Certify Record &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;Karl argues that the district court abused its discretion by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;den&lt;span&gt;ying&lt;/span&gt;&lt;span&gt; his motion to certify the record&lt;span&gt;.  &lt;/span&gt;He asks that the case be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;remanded to the district court with instructions to allow him to &lt;/div&gt;
&lt;div&gt;submit a certified record, so the district court can evaluate the &lt;/div&gt;
&lt;div&gt;merits of the Commissionâs decision.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review the district &lt;span&gt;courtâs &lt;/span&gt;decision &lt;span&gt;whe&lt;/span&gt;ther to grant a tardy &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;motion for an abuse of discretion.  &lt;span&gt;See Brown v. Walker Com., I&lt;span&gt;&lt;/span&gt;nc.&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2022 CO 57, Â¶ &lt;span&gt;19&lt;/span&gt;-20 (concluding that trial courts have br&lt;span&gt;&lt;/span&gt;oad &lt;/div&gt;
&lt;div&gt;latitude to allow untimely filings under the provisions of Rule &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;6(b)(2)).  &lt;span&gt;â&lt;/span&gt;A trial court abuses its discretion when its decision is &lt;/div&gt;
&lt;div&gt;manifestly arbitrary, unreasonable, unfair, or based on a &lt;/div&gt;
&lt;div&gt;misapplication of the law.â&lt;span&gt;  &lt;span&gt;Adams Cnty. Hous. Auth. v. Panzla&lt;span&gt;&lt;/span&gt;u&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;20&lt;span&gt;22 COA 148, Â¶ 17 (quoting &lt;span&gt;Black v. Black&lt;/span&gt;, 2020 CO 64M, &lt;span&gt;&lt;/span&gt;Â¶ 118). &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;span&gt;The district courtâs order denying Karlâs motion &lt;span&gt;adopted by &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reference the arguments made in the Commission&lt;span&gt;âs &lt;/span&gt;response to &lt;/div&gt;
&lt;div&gt;Karlâs motion&lt;span&gt; to certify the record&lt;span&gt;. &lt;/span&gt; &lt;span&gt;In&lt;/span&gt; its response, the Commission &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argued Karl failed to demonstrate &lt;span&gt;âgood cause or excusable negl&lt;span&gt;&lt;/span&gt;ectâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for the delay in filing the motion.  The Commission also noted that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;in response to the district courtâs inquiry, Karl represented that &lt;/div&gt;
&lt;div&gt;there was no request to certify the record and that the case was ripe &lt;/div&gt;
&lt;div&gt;for setting the briefing schedule. &lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;In his reply &lt;span&gt;to the Commissionâs response&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;Karl argued that he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;didnât timely file a motion &lt;span&gt;to certify because in a previous case &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;involving the same attorneys, defense counsel provided a certified &lt;/div&gt;
&lt;div&gt;copy of the record even though &lt;span&gt;Karlâs counsel&lt;/span&gt; had not filed a motion &lt;/div&gt;
&lt;div&gt;to certify&lt;span&gt;.  &lt;/span&gt;Aside from this one alleged incident &lt;span&gt;â&lt;/span&gt; the circumstances &lt;/div&gt;
&lt;div&gt;of which are not documented or further explained &lt;span&gt;â&lt;/span&gt; there is &lt;/div&gt;
&lt;div&gt;nothing in the record to indicate an established relationshi&lt;span&gt;&lt;/span&gt;p or &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;practice between counsel that would justify Karl assuming that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;there was no need file a motion to certify in this case. &lt;/div&gt;
&lt;div&gt;Â¶ 36&lt;span&gt; &lt;/span&gt;&lt;span&gt;On appeal, Karl offers the same justification for his belated &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;filing&lt;span&gt;: &lt;span&gt;in one prior Rule 106 case with defense counsel, the city &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attorney had filed a record even though &lt;span&gt;Karlâs attorney had not filed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a &lt;span&gt;motion to certify&lt;span&gt;, &lt;/span&gt;and he assumed the same practice would be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;followed in this case. &lt;/div&gt;
&lt;div&gt;Â¶ 37&lt;span&gt; &lt;span&gt;As an initial matter, we note that Karlâs counsel first raised &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;th&lt;span&gt;is&lt;span&gt; argument in his reply brief filed in the district court.  Generally,&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;we do not consider arguments raised for the first time in a reply &lt;/div&gt;
&lt;div&gt;brief.  &lt;span&gt;See Flagstaff Enters. Constr., Inc. v. Snow&lt;/span&gt;, 908 P.2d 1&lt;span&gt;&lt;/span&gt;183, &lt;/div&gt;
&lt;div&gt;1185 (Colo. App. 1995) (it is not error for a trial court not to &lt;/div&gt;
&lt;div&gt;consider arguments raised for the first time in &lt;span&gt;a &lt;/span&gt;reply brief).&lt;span&gt;  &lt;/span&gt;But &lt;/div&gt;
&lt;div&gt;even if we assume the argument was adequately preserved, we &lt;/div&gt;
&lt;div&gt;conclude it fails on the merits. &lt;/div&gt;
&lt;div&gt;Â¶ 38&lt;span&gt; &lt;/span&gt;&lt;span&gt;Neither before the district court nor on appeal does Karl point &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to an established practice between counsel, or an express &lt;/div&gt;
&lt;div&gt;representation from opposing counsel, that would justif&lt;span&gt;&lt;/span&gt;y his &lt;/div&gt;
&lt;div&gt;assumption that he could ignore the requirements of Rule &lt;/div&gt;
&lt;div&gt;106(a)(4)(III) and (IV)&lt;span&gt;.  &lt;/span&gt;Moreover, a party is not free to disregard a &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt;deadline absent permission of the tribunal, and there is nothin&lt;span&gt;&lt;/span&gt;g in &lt;/div&gt;
&lt;div&gt;the record suggesting that the district court agreed to such &lt;span&gt;&lt;/span&gt;practice. &lt;/div&gt;
&lt;div&gt;Â¶ 39&lt;span&gt; &lt;/span&gt;&lt;span&gt;In addition to these omissions, Karl affirmatively represented &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to the district court that there was no motion to certify t&lt;span&gt;&lt;/span&gt;he record &lt;/div&gt;
&lt;div&gt;outstanding and that the parties were ready for a briefing schedule.  &lt;/div&gt;
&lt;div&gt;Noting that âa certified record has not been requested,â t&lt;span&gt;&lt;/span&gt;h&lt;span&gt;e district &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court entered its order setting forth the deadlines for the &lt;span&gt;partiesâ&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;briefs on appeal.  Even th&lt;span&gt;en&lt;/span&gt;, Karl did not file his motion to certif&lt;span&gt;&lt;/span&gt;y &lt;/div&gt;
&lt;div&gt;until more than a month later&lt;span&gt;, &lt;/span&gt;seven days before his opening brief &lt;/div&gt;
&lt;div&gt;was due.&lt;span&gt;  &lt;/span&gt;And in his reply brief concerning the motion to certify, &lt;/div&gt;
&lt;div&gt;Karl stated &lt;span&gt;that the filing of his opening brief âprobably rendere&lt;span&gt;&lt;/span&gt;d &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;mootâ the issue of record certification because he âwas able to f&lt;span&gt;&lt;/span&gt;ile &lt;/div&gt;
&lt;div&gt;his brief without a certification of record.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 40&lt;span&gt; &lt;/span&gt;&lt;span&gt;Karl lastly conten&lt;span&gt;ds&lt;/span&gt; that his motion to certify should not &lt;span&gt;&lt;/span&gt;be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;treated as untimely because C.R.C.P. 106(a)(4) does not&lt;span&gt;&lt;/span&gt; set forth an &lt;/div&gt;
&lt;div&gt;express deadline for filing a motion to certify.  Similarly, he &lt;/div&gt;
&lt;div&gt;contends that any delay was inconsequential because he filed the &lt;/div&gt;
&lt;div&gt;motion before the deadline for filing his opening brief.  We &lt;span&gt;&lt;/span&gt;disagree. &lt;/div&gt;
&lt;div&gt;Â¶ 41&lt;span&gt; &lt;/span&gt;&lt;span&gt;Rule 106(a)(4)(III) contemplates the filing of &lt;span&gt;a &lt;/span&gt;motion to certify &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;contemporaneously with the complaint.  If no record is req&lt;span&gt;&lt;/span&gt;uest&lt;span&gt;ed&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf13" data-page-no="13"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;18 &lt;/div&gt;
&lt;div&gt;an opening brief is due within forty-two days of the answer.  &lt;/div&gt;
&lt;div&gt;C.R.C.P. 106(a)(4)(VII).  &lt;span&gt;Karlâs opening brief was &lt;/span&gt;already &lt;/div&gt;
&lt;div&gt;significantly past due before the courtâs clerk contacted him &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;inquire about its status.  And when he stated that no record was &lt;/div&gt;
&lt;div&gt;requested, the court set a deadline for filing the opening brief.&lt;span&gt;&lt;/span&gt;  After &lt;/div&gt;
&lt;div&gt;another thirty-five days had expired, Karl filed the motion t&lt;span&gt;&lt;/span&gt;o certify &lt;/div&gt;
&lt;div&gt;seven days before the deadline for his opening brief.  If the motion &lt;/div&gt;
&lt;div&gt;had been granted, it would have delayed the briefing until the &lt;/div&gt;
&lt;div&gt;record could be prepared and filed.  This would have required a new &lt;/div&gt;
&lt;div&gt;briefing schedule and caused additional delay &lt;span&gt;in&lt;/span&gt; resolving the case. &lt;/div&gt;
&lt;div&gt;Â¶ 42&lt;span&gt; &lt;/span&gt;&lt;span&gt;Given these facts, we cannot conclude that the district court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;abused its discretion &lt;span&gt;by denying Karlâs &lt;/span&gt;untimely motion to certify &lt;/div&gt;
&lt;div&gt;the record. &lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 43&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court&lt;span&gt;âs order&lt;/span&gt;s denying the motion to certify t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;record and affirming &lt;span&gt;the Commissionâs final decision and order a&lt;span&gt;&lt;/span&gt;re &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;affirmed. &lt;/div&gt;
&lt;div&gt;JUDGE &lt;span&gt;TOW&lt;/span&gt; and JUDGE PAWAR concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
